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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


  KÉTO NORD HODGES, et al.,

        Plaintiffs,

        v.                                               Case No. 8:24-cv-879

  BEN ALBRITTON, et al.,

        Defendants.
  ___________________________________/

                          THE SECRETARY’S TRIAL BRIEF

        As required by this Court, Doc.37 at 11, Defendant Secretary of State Byrd

  provides this trial brief. It contains proposed findings of fact and conclusions of law.

                                       Introduction

        Plaintiffs present a case they cannot win. They want to invalidate a purportedly

  race-based district that crosses Tampa Bay, and want to replace it with a race-based

  district that doesn’t cross Tampa Bay. That’s improper.

        “Plaintiffs’ request for relief to remedy an assertedly unconstitutional race-based

  redistricting plan is itself unconstitutional under the same principle.” Polish Am. Cong.

  v. City of Chicago, 226 F. Supp. 2d 930, 934 (N.D. Ill. 2002). The state senate district

  Plaintiffs want would be (and the district they challenge is) protected by the Florida

  Constitution’s Fair Districts Amendments, specifically its non-diminishment

  provision. Fla. Const. art. III, § 21(a). But the U.S. Supreme Court has never held that




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  compliance with a race-based state constitutional redistricting requirement can serve

  as a compelling governmental interest in a racial redistricting case. Nor is it likely that

  the Court ever would. So, if the existing district is unconstitutional, then so too is any

  remedial district.

         And if that wasn’t enough, on the narrow tailoring prong for the race-based

  redistricting test, Plaintiffs still haven’t identified a single case that prohibits a district

  from crossing Tampa Bay. Even if they could, it’s clear why Plaintiffs want such a

  district: it would benefit the Democratic Party and harm the Republican Party. The

  Florida Legislature can’t engage in partisan redistricting, Fla. Const. art. III, § 21(a),

  and Plaintiffs shouldn’t use this case to do so.

         For these reasons, including the evidence that will be presented at trial, this

  Court should reject Plaintiffs’ arguments and case. Plaintiffs aren’t entitled to a new

  race-based, partisan district in Tampa.

                                        Findings of Fact

         1.     Plaintiffs challenge state senate district 16. Doc.101 at 1.

         2.     District 16 crosses Tampa Bay.

         3.     The Florida Senate considers district 16 to be protected under the Fair

  Districts Amendments’ non-diminishment provision.

         4.     The Fair Districts Amendments are a collection of redistricting standards

  in the Florida Constitution. Fla. Const. art. III, §§ 20, 21. They apply to congressional,

  state senate, and state house districts. The Fair Districts Amendments were approved

  by Florida voters in 2010, through the citizen initiative process.


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         5.     The Florida Senate contends that compliance with the non-diminishment

  provision was just one of many reasons for district 16’s configuration. The Secretary

  takes no position on this. State senate districts (and state house districts) are drawn by

  the Florida Legislature, without executive branch input or approval. Fla. Const. art.

  III, § 16. The Florida Senate is in a better position to explain and argue why district 16

  was drawn in the way that it was drawn.

         6.     Plaintiffs maintain that compliance with the Fair Districts Amendments

  is a compelling governmental interest—it’s “a laudable and constitutional goal,” and

  “[c]omplying with Fair Districts’ non-diminishment (or ‘non-retrogression’)

  requirement is a compelling governmental interest that could justify race-predominant

  redistricting.” Doc.1 at 4.

         7.     Even so, Plaintiffs contend that district 16 shouldn’t cross Tampa Bay.

  They contend that crossing it constitutes a racial gerrymander. See, e.g., Doc.1 at 4-5.

         8.     As a remedy, Plaintiffs want a new “constitutional district[],” meaning

  one that complies with (in part) the Fair Districts Amendments’ non-diminishment

  provision. Doc.1 at 31. Specifically, as their expert Dr. Barreto will testify, all three of

  Plaintiffs’ illustrative maps comply with the non-diminishment provision.

         9.     And Plaintiffs want a new district that doesn’t cross Tampa Bay. The

  alternative maps identified in Plaintiffs’ complaint—Nicholas Warren’s Tampa map,

  the Caldwell Plan, the Matthew Isbell Plan, and Plaintiffs’ demonstrative plan—don’t

  cross the bay. Doc.1 at 14, 23, 26-27. Nor do the three illustrative plans drawn by

  Plaintiffs’ expert Dr. McCartan. In fact, Mr. Warren instructed Dr. McCartan to


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  “[a]djust District 16 to be wholly contained in Hillsborough County (i.e. not cross

  Tampa Bay).” PX66.

        10.    It comes as no surprise why Plaintiffs and Mr. Warren want a new, race-

  based district that doesn’t cross Tampa Bay. In one of their discussions, Mr. Warren

  and Mr. Isbell (a Democratic mapmaker) noted that this configuration would “become

  less Republican.” Doc.109 at 4. At trial, both Mr. Warren and Mr. Isbell will testify

  about the partisan motivations, and partisan benefits, of a new senate district that

  doesn’t cross Tampa Bay.

                                   Conclusions of Law

        11.    Again, the Secretary takes no position on racial predominance. But if this

  Court concludes that district 16 was drawn for predominantly race-based reasons—

  compliance with the Fair Districts Amendments’ non-diminishment provision—

  compliance with the state constitutional provision cannot serve as a compelling

  governmental interest.

        12.    The U.S. Supreme Court has only assumed that compliance with the

  Voting Rights Act can serve as a compelling governmental interest in a racial

  gerrymandering case. E.g., Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 193

  (2017) (“[T]he Court assumes, without deciding, that the State’s interest in complying

  with the Voting Rights Act was compelling.”).

        13.    At the very least, the Voting Rights Act was bolstered by a weighty and

  detailed legislative record, one showing that a race-based problem needed a race-based

  solution. E.g., South Carolina v. Katzenbach, 383 U.S. 301, 314-15, 333-34 (1966).


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        14.    The Fair Districts Amendments lack such a record. They were citizens

  initiatives. Citizens initiatives aren’t backed by, and don’t come with, legislative

  records—particularly records demonstrating that race-based problems required a race-

  based solution.

        15.    It’s unlikely that a state constitutional provision could ever serve as a

  compelling governmental interest in a federal equal protection case. For an illustrative

  example, Florida’s 1885 Constitution banned interracial marriage. Fla. Const. art.

  XVI, § 24 (1885). But compliance with that provision wouldn’t defeat a federal equal

  protection clause challenge. Loving v. Virginia, 388 U.S. 1, 6 n.5 (1967) (identifying the

  state constitutional provisions that banned interracial marriage).

        16.    As such, the remedial district Plaintiffs want—one that would comply

  with the non-diminishment provision under the Florida Constitution’s Fair Districts

  Amendments—is a constitutional nullity.

        17.    “[I]f Plaintiffs’ request for relief to remedy an assertedly unconstitutional

  race-based redistricting plan is itself unconstitutional under the same principle, their

  claim” cannot “stand.” Polish Am. Cong., 226 F. Supp. 2d at 934.

        18.    Plaintiffs cannot prevail on their claim when their remedy is

  unconstitutional. See generally Whitmore v. FEC, 68 F.3d 1212, 1216 (9th Cir. 1996)

  (“The district court could not, in any event, have granted the injunction sought because

  it would abridge people’s constitutionally protected liberty to contribute to the

  candidates of their choice.”); Synder v. Murray City Corp., 159 F.3d 1227, 1240 (10th

  Cir. 1998) (Lucero, J., concurring in the judgment) (“The remedy Snyder would have


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  us endorse for himself and others would require the government to invite proselytizers

  to initiate its meetings—which it cannot do without violating both the second and third

  steps of” the then-applicable Establishment Clause test.); Initiative & Referendum Inst. v.

  Walker, 450 F.3d 1082, 1101 (10th Cir. 2006) (en banc) (“[i]ndeed, the Plaintiffs’ theory

  would have the ironic effect of rendering the relief they seek in this litigation

  unconstitutional under the First Amendment”).

         19.    For that matter, Plaintiffs aren’t entitled to a senate district that doesn’t

  cross Tampa Bay. Plaintiffs still haven’t identified a single case that makes this district

  configuration a federal constitutional mandate.

         20.    There’s a reason why Plaintiffs want this configuration: they want to

  benefit the Democratic Party. But this kind of partisan motivation is barred under state

  law. Fla. Const. art. III, § 21(a). Indeed, this kind of impermissible partisan influence—

  particularly from partisan operatives—invalidated districts during the 2012

  redistricting cycle. League of Women Voters of Fla. v. Detzner, 172 So. 3d 363, 378 (Fla.

  2015). Such influence shouldn’t be a factor in any remedial district here.

                                         Conclusion

         For these reasons, including the evidence that will be presented at trial, this

  Court should reject Plaintiffs’ equal protection clause claim and enter judgment in

  favor of the Secretary and Florida Senate.




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   Dated: May 13, 2025                    /s/ Mohammad O. Jazil
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                            CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2025, I electronically filed the foregoing with

  the Clerk of Court by using CM/ECF, which automatically serves all counsel of record

  for the parties who have appeared.

                                          /s/ Mohammad O. Jazil
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